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                                             #1073



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
       v.                                    )       Criminal No. 04-40039-JPG-03
                                             )
MICHAEL R. McCAY,                            )
                                             )
                      Defendant.             )

                           REPORT AND RECOMMENDATION

       The United States of America and the Defendant having both filed a written consent,

appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule 72.1(b)(2).

The Defendant entered a plea of guilty to Count 1 of the Fourth Superseding Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects mentioned in

Rule 11, I determined that the guilty plea was knowing and voluntary as to each count, and that the

offense charged is supported by an independent factual basis containing each of the essential

elements of such offense. The Court has been advised that a presentence investigation and report

has been prepared. I therefore recommend that the plea of guilty be accepted and that the Defendant

be adjudicated guilty and have sentence imposed accordingly.

       DATED: October 12, 2006.

                                                     s/ Philip M. Frazier
                                                     HON. PHILIP M. FRAZIER
                                                     UNITED STATES MAGISTRATE JUDGE


                                             NOTICE

      The failure to file a written objection to this Report and Recommendation within ten (10 days
from the date of service shall bar an aggrieved party from challenging this Report and
Recommendation before the assigned U.S. District Judge. 28 U.S.C. 636(b)(1)(B).
